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                   THE CHONG LAW FIRM, P.A.
                               Licensed in: Delaware, New Jersey, Pennsylvania


                                                 June 18, 2021
      Honorable Richard G. Andrews
      United States District Court for the District of Delaware
      J. Caleb Boggs Federal Building
      844 N. King Street
      Unit 9, Room 6325
      Wilmington, DE 19801-3555
      via CM/ECF (under seal)


      RE:      CONFIDENTIAL FILED UNDER SEAL PURSUANT TO COURT’S ORDER
               Display Technologies, LLC v. Aston Martin, LLC
               Civil Action No.: 1:20-cv-00258-RGA

      Dear Judge Andrews:
             Pursuant to the Court’s Oral Order of May 17, 2021 [Doc. 18] and the Court’s Order
      Granting Plaintiff’s Application to File Under Seal [Doc. 21], Plaintiff hereby files under seal the
      following Settlement and License Agreements:
             1)    Case No. 1:20-cv-00261-RGA; Display Technologies, LLC v. Jaguar Land Rover
      North America, LLC.
             2)    Case No. 1:18-cv-01390-RGA; Display Technologies, LLC v. Como Audio, LLC.

            3)     Case No. 1:17-cv-01427-RGA; Display Technologies, LLC v. Pioneer & Onkyo
      Corporation U.S.A. Corporation.

                                                          Respectfully submitted,
                                                          CHONG LAW FIRM PA

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